AMERUS

Home Lending
BALLOON NOTE

(Fixed Rate)

THIS LOAN IS PAYABLE IN FULL AT MATURITY. YOU MUST REPAY THE ENTIRE
PRINCIPAL BALANCE OF THE LOAN AND UNPAID INTEREST THEN DUE. LENDER IS
UNDER NO OBLIGATION TO REFINANCE THE LOAN AT THAT TIME, YOU WILL,
THEREFORE, BE REQUIRED TO MAKE PAYMENT OUT OF OTHER ASSETS THAT YOU
MAY OWN, OR YOU WILL HAVE TO FIND A LENDER, WHICH MAY BE THE LENDER YOU
HAVE THIS LOAN WITH, WILLING TO LEND YOU THE MONEY, IF YOU REFINANCE THIS
LOAN AT MATURITY, YOU MAY HAVE TO PAY SOME OR ALL OF THE CLOSING COSTS
NORMALLY ASSOCIATED WITH A NEW LOAN EVEN IF YOU OBTAIN REFINANCING FROM
THE SAME LENDER,

dune 13, 2003 LENEXA KANSAB
[Date] {Clty] (State]
7905 W 96TH ST
OVERLAND PARK, KS 66212
[Property Address]

1, BORROWER'S PROMISE TO PAY
In retwn for a loan that I have received, 1 promise to pay U.S. $182,000.00 (this amount is called
"Princtpal"), plus interest, to the order of Lender, Lender {s AmexUs Home Lending, Inc.

{ will make ‘all payments under this Note {1 the form of cash, check or money order.
L understand that Lender may transfer this Note. Lender or anyone who takes this Note by transfer and who is entitled

lo receive payments uncer this Nate 1g called the Note Holder."

2, INTEREST
Interest will be charged on unpaid principal until the full amount of Principal has been paid. I will pay interest at a
yearly rate of 8,250 %,

The Interest rate required by this Section 2 is the rate I will pay both before and after any default described in Section

6(B) of this Note,
3. PAYMENTS

(A) Time and Place of Payments

{will pay principal and interest by making @ payment every month,

L will make my monthly paymentsion the Lat day of each month beginning on Agguat 1, 2003 .
1 will make these payments every month until | have paid all of the principal and interest and any other charges described
below that 1 may owe under this Note, Rach monthly payment will be applied as of its scheduled due date and will be
applied to interest before Pringipal, If} onduly 2, 2048 , Latill owe amounts under this
Note, | will pay those amounts in full on that date, whiel is called the "Maturity Date. l

1 will: make my monthly payments at AmexUs-Payment Processing, 3820 109th st, Dept 7250;
Des Moines, IA 50391-7250
orata different place if required by the Note Holder.

(B) Amount of Monthly Payments

My monthly payment will ba in the amount of U.S, $1,367. 34 ,

MARK H ENGEN

MULTISTATE BALLOON FIXEO RATE NOTE - Single Family - FANNIE MAE UNIFORM INSTRUMENT Form 3260 LAL

Page 1 of 3 ly CO
Gp, 570N (0205) VMP MORTGAGE FORMS : (800)821-7291 Melty
“yi L/

 

EXHIBIT “A”

 

 

 

Case 15-20184 Doc#29-1 Filed 05/22/15 Page1ofi11
4, FOS ae TO PROP AL

have the right to ments of Principal at any time before they.are due. 4, payment of Prineipal onl is known
as a “Prepayment,” When I ie a Prepayment, | will ell the Note Holder in writing. that 1 am doing #0. 1 may not
designate a payment asa Prepayment if T haye not madé all (he monthly payments clue uncer this Note.

T may make a full Prepayment or partial Prepayments without paying any Prepayment charge, ‘The Note Holder will
use my Prepayments to reduce the amount of Prine pal that ] owe this Note: However, the Note Holder may appl y my
Prepa ment to the eccrued and unpaid. interest ont the Prepayment amount before applying, ™ Prepayment {o reduce the
Principal amount of this Note, If | make a partial Prepayment, there will be no changes Ir Hie due date or in the amount of
my monthly payment unless the Note Holder agrees in writing to those changes.

5, LOAN CHARGES

If a law, which wees to this loan and which sets maximum loan charges, is {Inally interpreted so that the Interest or
other loan charges collected or to be-collected in connecton with this loan exceed the permitted limits, then: (i) any such
loan charge shall be reduced by the amount heen ta reduce the charge to the pee limit; and (b) any sums already
collected from me that exceeded permitted limits wi be refunded to me, The Note Holder may choose to make this refund
by reducing the Principal | owe under this Note or by making a direct payment to me. Ifa refund reduces Principal, the
reduction will be treated as a partial Prepayment.

6 BORROWER'S FAILURE TO PAY AS REQUIRED

(A) Late Charges for Overdue Payments :

If the Note Holder hag not received the full amount of any monthly payment by the end of Ten calendar days
after the date it is due, I will pay a late charge to the Note Holder. The amount of the charge will be

5.000% of my overdue payment of principal and interest. 1 will pay this late charge promptly but only

once on each late payment,

(3) Default
£1 do not pay the full amount of each monthly payment on the date itis due, 1 will be in default.

{") Notice af Default

f 1 am in default, the Note Holder may send me a written notice telling me that if T donot pay, the overdue, amount by
a certain date, the Note Holder may require me to pay immediately the full amount of Principal which has nat been pald ar
all the interest (hat | owe on that amount, That date tnust be at least 30 days after the date on which the notice is malled to
me or delivered by other means.

{P) No Waiver By Note Holder

yen if, ata time when |] am in default, the Note Holder does not require me to pay immediately in full as described
above, the Note Holder will still have the right to do so if T am in default at a later time.

in aes of Note Holder's Costs and Expenses

f te Holcler has required me to pay immeciatuly in full as described above, the Note Holder will have the right
ta be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law.
Those expenses include, for example, reasonable atlorneys' fees.

7, GIVING OF NOTICES

Unless applicable Jaw requires a different method, any notice that yrust.be given to me under this Note will be given by
delivering it or by mailing It by first class mail to me at the Property ‘Address above or at a clifferent address If 1 give the
Note Holder a notice of my different address.

‘Any notice that must be given to the Note Holder under this Note will be given My mailing it by first class mail to tre
ee Holder at the address stated In Sectlan 3(A) above or ata different address if { am given a nolice of that different
address,

4, OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person signs thiy Note, each person is fully and personally obligated to keep-all of the promises mace
in this Note, inclusing the promise to pay the full amount owed. Any parson who Is a guarantor, surety or endorser of this
Note is also obligated to do these things, Any person who tikes aver these obligations, Including the obligations of a
guarantor, surely or endorser of this Nole, 19 algo obligated to keep all of the promises made in this Note. The Note Holder
may enforce ils apts under (his Note against each person individually or against all of us together, ‘This means that any one
of us may be required to pay.all of the amounts owed under this Note,

9, WAIVERS -

[ and any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
“Presentment” means the right to require the Note Holder to demand payment of ainounts dae. "Notice of Dishonor" means
the right to require the Note Holdler to give notice to other persons that amounts due have not been paid.

10. UNIFORM SECURED NOTE /

‘This Note id a uniform instrament with limited yarlations 11 gome jurisdictions. In addition to the protections given to
the Note Holder under thls Note, a Mortgage, Deed of Trust, or Security Deed (the "Security Inatrument"), dated the same
date as this Note, protects the Note Holder from possible losses that might result if do not keep the promises that | make in
this Note. That Security Instrument deseribes how and under what conditions | may be rexjuired to make immediate payment
in full of all amounts T owe under this Note. Some of those conditions read as follows:

Form 3260 1/01

Witla:

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Case 15-20184 Doc#29-1 Filed 05/22/15 Page 2of11
‘Transfer of the Property or a Beneficial Interest in Borrower. As used fy this Section 18, “Interest in the

Property" means any legal or beneficial Interest in the Property, including, but

not limited to, those beneficial

Interests transferred! in a bond for deed, contract for deed, Installment sales contract or escrow agreement, the

intent of which is the transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or {f Borrower ig nol a
natural person and a beneficial Interest in Borrower is ‘sold-or (randferted) without Lender's prior written consent,
Lender may requite fmmediate payment in full of ail sums secured by this Security Instrument. However, this
option shall not be exercised by Lender if such exercise is prohibited by Applicable Law,

If Lender exercises this option, Lender shall give Borrower notice of acéeleration, The notice shall provide a
period of not less than 30 days from the date the notice I given in accordance with Section 15 within which
Borrower must pay all sums secured by this Security Instrument, If Borrower fails to pay these sums prior to the
expiration af this period, Lencer may invoke any remedies permitted by this Security Instrument without further

notice or demand on Borrower,

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

MWyurb_ Fg ey Moun,

MARK H ENGEN Borrower H ENUEN

Borrower

G be (Sel)

 

 

 

 

 

 

(Seal) (Seal)

«Borrower -Borrower

(Seal) (Seal)

-Borrowar -Borrower

(Seal) (Seal)

-Borrower -Borrower

[Sign Original Only]

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Case 15-20184 Doc# 29-1 Filed 05/22/15

Page 3 of 11
ene INC.
W. 87th PKWY
LENEXA, KS 66215 BUNTY KANN GB, }S8

FO RECORD
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Retwn To: AmerUs Home Landing, Ind.

4121 NW Urbandale Drive Urbandale, IA 50322
Prepared By:Miohalle Blackford

4121 NW Urbandale Drive Urbandale, IA 50322

 

——— [Space Above This Line Por Recording Data]

MORTGAGE MORTGAGE

REGISTRATION FEE

ludebiodnees; s_| BQ) Oba
fee: $_ Oh Pep
Date. I t t.,
REGISTER OF DEEDS
JOHNSON COUNTY, KS

DEFINITIONS
Words used In multiple sectons of this document are defined below and other words are defined in

Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used In this document are

also provided in Sectlan 16.
(A) "Security Instrument® means this Wocument, which is datedJune 13, 2003 é

together with all Riders to this document,
(B) "Borrowor" is MARI Ht ENGEN ‘und MAUREEN & BNGEN, (Husband & Wifes)

Borrower ig the mortgagor under this Security Instrument.
({C) "Lender" ls AmerUa Home Lending, Inc,
Lender js a corporation

organized and existing under the laws of Towa

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KANSAS -Single Famlly-Fannle Mae/freddie Mec UNIFORM INSTRUMENT Form 3047 2/01

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VMP MORTGAGE FORMS: ($00)521 +7291 WAS
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Case 15-20184 Doc#29-1 Filed 05/22/15 Page4of11
Lender's address ig 4121 NW Urbandale Drive, Urbandale, IA 50322

Lender {5 the mortgagee uncer this Security Instrument,

(D) *Nate" means the promissory note signed by Borrower and datedduno 13, 2003 .

The Nole stiles that Borrower owes Lender One Hondred Bighty-two Thousand And 00/100
Dollars

(U.S. $282,000.00 ) plug interest. Borrower has promised to pay thia debt In regular Perlodic

Payments and to pay the debt in full not later than duly 1, 2018 :

ERE ers means the property that Is described below under the heading "Transfer of Rights in the

roperty,”

(P) "Loan' means the debt evidenced by (he Note, plus Interest, any prepayment charges and late charges

duo under the Note, and all sums due-uncar this Security Instrument, plus interest.

{G) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following

Ridera are to be executed by Borrawer (check box as applicable];

‘Adjustable Rate Rider Condomintum Rider Second Home Rider
Balloon Rider Planned Unit Development Rider |. 1-4 Pamlly Rider
VA Rider Biweekly Payment Rider Other(s) [spectfy]

(H) “Applicable Law" means all controlling applicable federal, state and local statutes, regulations,
ordinances and administrative rules and orders (that have the effect of law) as well as all applicable Anal,
non-appaalable judicial opinions.

(1) "Community Association Dues, Fees, and Assessmente” means all dues, fees, assessments and other
charges that are Imposed on Borrower or the Property by a condominium associadon, homeowners
association or similar organization.

(J) “Hlectronic Funds Transfer* means any transfer of finds, olher than a transaction orlginated by
check, draft, or similar paper Instrument, which ts initiated through an electronte terminal, telephonte
Instrument, corpuler, or magiveti¢ tape so as to order, instruct, or authorize 0 financial institution to cebit
or credit an account, Such term Includes, but is not limited fo, point-of-sale transfarg, automated teller
machine tratsuctions, transfers Initiated by telephone, wire transfers, and asitomated clearinghouse
transfers,

(K) “Escrow Items" means those ttems thot are described In Secllon 3.

(L) "Miscellaneous Proceeds" mean ony comperation, settlement, award af damages, or proceeds pald
by any thire party (other than Insurance proceeds pald under the covernges described! In Section 5) for: (I)
duntnge ta, ar destruction off the Property; (li) condemnation or other taking of all or any part of the
Property; (iil) conveyance in tien of condemnation; or (Iv) nisrepresentations of, or ambislons as to, the
val\ie and/or condition of the Property. :

(M) "Mortgage Jnsurance’ means insurance protecting Lender against the nonpayment of, or default on,
the Loan.

(N) "Pertndic Payment" nyeans the regularly scheduled amount due for (i) principal and interest under the
Nota, plus (ii) any amounts under Section 3 of this Security Inatrument,

(0) "RESPA* means the Real Estate Settlement Procedures Act (12 U.S.C, Section 2601 et seq.) and is
implementing regulation, Regulation X (24 CER, Part 3500), as they might be amended from time to
time, or any accitional or successor Jegislation or regulation that governs the same subject matter, As used
in this Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed In regard
to a "federally related mortgage loan" even if the Lony does nol quallfy ps 4 "federally related mortgage
loan‘ under RESPA,

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Case 15-20184 Doc#29-1 Filed 05/22/15 Page5of11
(2) "Successor in Interest of Byrrower" Pape ary. poy that has taken ttle to the Property, whether or
rider the Note and/or this Security Instrument.

not that party has assumed Borrower's obligations: unde

TRANSFER OF RIGHTS IN THE PROPERTY

This Geclirity Instrument secures to Lender: (|) the repayment of the Loan, and all renewals, extensions

and modifications of the Note; ond (ii) the performance of Borrower's covenants and agreements under

this Security Instrument and the Nolte, For thls purpose, Borrower mortgayes and warrants to Lender

and Lender's successors ind assigns the following deserlbed properly lovated in the
County of JOHNEON: ‘

[type of Recording Jurisdicton) [Name of Recording J urlsdiciton]
LOT 13, BLOCK 10; S¥LVAN GROVE, A SUBDIVISION IN THE CITY OF OVERLAND
PARK, JOHNSON COUNTY, KANSAS,

Parcel ID Number; NP48400010-0013 which currently has the address of
7905 W 96TH ST (Street)
OVERLAND PARK (City), Kansas 66212 [Zip Code)

("Property Address"):

TOGETHER WITH all the improvements now or herdafter erected on the property, and all
easemenis, appurtenances, and fixtures how or hereafter a part of the property. All replacements. and
additions shall also be covered by this Security Instrument, All of the Foregoing 4s referred to in this
Securlty Instrument as the "Property. *

BORROWER COVENANTS that Borrower is lawfully selved of the estate hereby conveyed and has
the right to mortgage, grint and convey the Properly and that the Property ig unencuunbered, except for
encumbrances.of record, Borrower warrants and will defend generally the Hile to the Property agalrist all
claims'and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
property.

PUNIF ORM COVENANTS. Borrower and Lender covenant and agree as fallow:

4. Payment of Prinelpal, Interest, Hicrow Items, Prepayment Charges, and Late Charges,
Borrower shall pay when due the principal of, and interest 01, the debt evidenced by the Nole and any
prepayment charges and lote charges eiue under the Note. Bortower shall also pay funds for Escrow Items
purauant to Section 3, Payments due under the Note and this Security Instrument shall be made in US.
currency. However, If any check or other instrument, received by Lender aa payment under the Note or this

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Case 15-20184 Doc#29-1 Filed 05/22/15 Page6of11
Security Instrument iy returned to Lender \wrpald, Lender may require that any or ol] subsequent payments
due under the Note ord this Security Instrument be nudé in ane or more of the following forms, as
selected by Lenders (a) cashy (b) money order; (c) certified check, bank check, treasurer's check or
cashiar's check, provided any such check is drawn upon an institution whose cleposits are insured by a
federal agency, instrumentality, or entity; or (dl) Blestronte Funds Transfer,

Payments are deemed recalved by Lender when recelved al the location designated In the Note or at
stich other location us may be designated by Lender in accordance with the notice provisions In Section 15,
‘Lender may return any payment or partial payment if the payment or partial payments are Ipsuffletent to
bring the Loan current. Lender may accep! any payment or partial payment insufficient to bring the Loan
current, without walver of any righty hereunder or prejudice to Its rights to refwie stich payment or partial
payments In the future, but Lender 1s not obligated to apply such payments at the time such payments are
accepted: If each Periodic Payment {applied as of lis scheduled due date, then Lender need not pay
interest on unapplicd funda, Lender may hold such unapplied (unds until Borrower makes payment to bring
ihe Loun current. If Borrower does nat da'so within a reasonable period of Une, Lender shall either apply
ouch funds or return them to Borrower. If not appliedvearlier, such funds will be applied to the outstanding
principal balance under the Note Immediately prior to foreclosure, No offect or claim which Borrower
might have now or In the future against Lender shall relieve Borrower from making payments due under
_ Note and this Security Instrument ar performing the covenants ant agreements secured by this Securlty
nstruinient.

2, Application of Payments or Proceeds, Except as otherwise degerited in this Sectlon 2, all

yments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
‘dua ander the Note; (b) ee dw under the Nolte (c) amounts due under Section 3. Such payments
shall be applied to each Periodic Payment fn the order in which It became due. Any remaining amounts
shall be applied first to Inte charges, second to any olher amounts due under thls Securlty Instrument, and
(hen to reduce the princlpal balance of the Note.

If Lendor receives n payment from Borrower for » delinquent Perlodie Payment which includes a
sufficient amount to pay any late charge due, the payment may be applied to the dolingitant payment and
the late charge. If more than one Periodic Payment Is outstanding, Lender may apply any payment received
from Borrower to the repayment of the Periodic Payments If, andl to the extent {, each payment can be
paid in full, ‘To the extent tat any excess exisis after the payment [9 applied to the full payment of one or
more Periodic Payments, such excess: may be applied to any Jate charges du, Voluntary prepayments shall
be applied first to any prepaytent charges and then ag described In the Note.

Any application of payments, Insurance roceeds, or Miscellaneous Proceed to prinelpal due under
the Note shall not extend or postpone the due ate or change the arnount, of the Pertodle Payments,

3. Funds for Escrow Ltems, Borrower shall pay to Lender on the day Periodic Payments are due
under the Nota, until the Note is pald in full, a sun) (the " Funds") to provide for payment of amounts due
for: (0) twxea and assessments ancl other items which can altain priority over this Security Instrument a a
lien of encumbrance:on the Property; (b) leasehold payments or grourid rents on the Property, if any; (¢)
premiums for any and all Insurance required by Lender under Section 5; and (qd), Mortgage Insurance
premiums, if any, or why suns payable by Borrower to Lender In liew of the payment of Morlgage
Insurance premiums In accordance with the provisions of Section 10. These tems are called “Escrow
ltemsi* At origination or at any time during the term of the Loan, Lender may require that Cormuniunity
Association Dues, Mees, and Assessments, if any, be esctowed by Borrower, and such des, fees and
assessments sholl be an Escrow Item, Borrower shall promptly furnish to Lender all notices of amount ta
be pald under this Suction Borrower shall pay Lender the Funds for Excrow Items unless Lender walves
Borrower's obligation to pay the Funds for any or all, Escrow Hema, Lender may waive Borrower's
obligation to: pay to Lender Funds for any or all Escrow Ltoms at any ime. Any such walver may only be
in writing. In the event af such waiver, Borrower shall pay directly, when and where payable, the amounts

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Case 15-20184 Doc#29-1 Filed 05/22/15 Page /7of11
due for any Escrow Ltems for which paynvent of Funds has been waived by Lender and, if Lender requires,
shall furnish to Lender receipts evidencing such payment within such time perlod as Lender may require,
Borrower's obligation to make such payments and to provicle recelpts shall for all purposes be deemed lo
be a covenant and agreement contained by this Securlty Instrument, as the phrave "covenant and agreement!
is used In Section 9. If Borrower [s obligated to pay Eacrow Items directly, pursuant toa waiver, and
Borrower falls to pay the amount due for an Escrow Item, Lender may exercise its rights under Section 9
and pay such amount and Borrower shall then be oblignted undur Section 9 to repay lo Lender any such
fiiount. Lender may revoke the walver ns to any or all Bscraw Items at any time by a notice given in
accordance with Section 18 and, upon such revocation, Borrower shall pay to Lender all Funds, and In
such amounts, that are then required under this Section 3.

Lender may, nt any me, collect and hold Funds in, wn amount (a) sufficient to permit Lender to apply
the Funds at the time specl{led under RESPA, and (b) not to exceed the maximum amount @ lender can
require under RESPA, Lender shall estimate the amount of Purds due on the basis of current data and
ees of expanditures of future Escrow Items or otherwise In acecordarice with Applicable

aw,

‘The Funds shall be held in an Institution whose deposits ate Insured by a fesleral agency,
instrumentality, or entity (Including Lender, if Lender Is.an Institution whose deposits are sa Insured) or Iry
any Federal Home Loan Bank. Lender shall apply the Funds to pay the Becrow Items na later than the time
specified under RESPA. Lendler shal] not charge Borrower for holding and applying, the Funds, onnoally
analyzing the escrow account, or verifying the Escrow Items, unless Lender pays Borrower interest on the
unds and Applicable Law permits Lender to make such a charge. Uniless an agreement is made iv writing,
or Applicable Law requires Interest to be paid-on the Funds, Lender shall nob b required to pay Borrower
any interest or earnings on’ the Funds, Borrower and Lender can agree in welling, however, that Interest
shall be pald onthe Funds. Lender shall give to Borrower, without charge, an annual accounting of the
Funciy og required by RBSPA,

If there isa surplus. of Funds held in escrow, aa defined under RESPA, Lender shall account to.
Borrower for the excess funds In accordance with RESPA. If there Is a shortage of Tunds held in escrow,
ag defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
Lendar the amount necessary to make up the shorlage in accordance with RESPA, but in no more than 12
monthly payments, If there Is a deficleney of Punds hold in escrow, as clefined under RESPA, Lender shall
notify Borrower ns required by RESPA, and Borrower shall pay to Londer (he amount necessary to make
up the déficiency in accordance with RESPA, but Inno tnore than 12 monthly payments.

Upon payment in full of all sums secured by tis Security Instrument, Lender shall promptly refund
to Borrower any Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, Anes, ark! Impositions
attributable to the Properly which can attaln priority over this Securlty Inotrurnent, leasehold payments or
ground rents on the Property, (Fany, and Comawinily Assdclation Dues, Fees, and Assessments, If any. To
the wstent that these Hema are Escrow Items, Borrower shall pay them in the muiiner’ provided In Section 3,

Horrowur shall pow discharge any lien which has priority over this Security Instrument unless
Vorrower: (a) agrees Ih wrlding to the payment of the obligation secured by the Hen Ina manner acceptable
to Lender, bul only so long av Borrower Is performing such agreament; (b) contests the Hen In good faith
by, or defends against enforcement of the Hen In, legal proceedings which In Lender's opinion operate to
prevent the enforcement of the lien while those procecdings ore ponding, but only until such proceedlngs
are contluded: or (c) secures from the holder of the Hen an agreeiyt satisfactory to Lender subordinating
the Hen to thiy Security Instrument. [f-Lendar dotermings that any part of the Property ie subject to a lien
which can attain priority ever this Security Instrument, Lender may give Borrower a notice identifying the

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Case 15-20184 Doc#29-1 Filed 05/22/15 Page8of11
lien. Within 10:days of the date on which that notlce is given, Borrower shall satisfy the lien or take ong or
more of the actions set forth above in this Section 4,

Lender may require Borrower to pay a one-time charge for a real estate tx verification and/or
Feporting service used by-Lender in connection with this Loan.

5, Property Insarance. Borrower shall keop the Improvements now exlating or hereafter erected on
the Property Insured against loss by fire, hazards Included within the tern “extended coverage," ard any
other hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance.
This insurance shall be maintained in the amounts (Including deductible Jevels) und! for the periods that
Lender reqiilres. What Lender requires pursuant to the preceding sentences can change cluring. the lenny of
the Loan. ‘The Insurance carrier providing the’ (nsurance shall ba chosen by Borrower subject to Lender's
right to. disapprove Worrower's choice, which right shall not ‘be exerclsed unreatonably, Lender may
require Borrower to pay, {n connection with this Loan, ether: (a) w one-time charge for flood vane
determination, certification and tracking services; or (b) a one-time charge for flood zone delermination
and certification services and: subsequent charges each me retappligs: br alrllar changes occur which
reasonably inlghit affect such determination. or certification, Borrower shall also be responsible for the
payment of any feed Iinpaged by the Federal Emergency Management Agency in connection with the
review of any flood zone determination resulting from an objection by Berrower.

[f Burrawer fails ta maintaln any of the covernged desaribed above, Lender may obbaly Insurance
coverage, ot Lender's option and Borrower's expense, Lender [sy under no obligation to purchase any
particular type oF amount of coverage, Therefore, such coverage shall cover Lender, but right or might
not protect Borrower, Borrower's equity [r Hw Property, or the contents of the Property, against any risk,
havard or Wability ancl might provide greater or leer coverage than was previously in effect, Borrower
acknowlodges that the cost of the insurance coverage so obtained might significmlly exceed the cost of
fraurance that Borrower could have obtained. Any amounts disbursed by Lender under this Section 6 shall
become additional debt of Borrower secured by this Security Instrument, These amounts shall bear interest
at the Note rete from the date of disbursement and shall be payable, with such interest, upon notice from
Lender to Borrower requesting payment.

‘All Insurance policles required by Lender and renewals of such policies shall be subject to Lender's
right to: disapprove such polictes,, shall inéiude ‘a standard mortgage clause, and shall name Lender os
morlgagee rasan additional loss payee. Lender shall have the right to hold the polictes and yenewal
certificates, If Lender requires, Borrower shall promplly give to Leneler all receipts of pald pramivms and
renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lender,
for damage to, or destruction of, Uv Properly, such policy shall Include a standard mortgage eliuse and
shall name Leneer 4s mortgagee and/or as an actditiona loss payee,

In the event of loss, Borrower shall give prompt notice to the iraurance corer and. Lender, Lender

make proof of loss If not made promptly by Borrower, Unless Leniler and Borrower otherwise agree
in writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, stall
ie applied to restoration or repair of the Property, Uf the restoration or repair is economically feasible ancl
Lender's s¢eurity is oat lessened, During sue repait and restoration perioc Lender shall have the right to
hold’ stich insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the
work has been completed to Lender's satisfaction, provided that such Inspection shall bo undertaken
prompily, Lender may disburse proceetls far the yepaita and restoration ina single payment or Ina serles
of progress payments.as the work ls completed. Unless an agreement ls made in weling or Applicable Luw
requires Interest o be paid on such insurance proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such proceeds. Pees for public adjusters, or other third parties, retained by
Borrower shall not be pald ont of the insurance proceeds and shill be the sole obligation of Borrower. If
the restoration or repair is not economically feasible or Lender's securlly would be lestenee, the Insurance
proceeds shal] be applied to the sums secured by this Security Instrument, whether or not then due, with

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Book 9125Pace 510

Case 15-20184 Doc#29-1 Filed 05/22/15 Page9of11
a if any, paid to Borrower, Such insurance proceeds shall be applied in the order provided for in
on 2.
If Borrower abandons the Property, Lender may file, negotiate and settle any available: Insurance
clatin and related matters, If Borrower does not respond within 30 days to @ notice from Lender that the
- insurance carrier has offered to settle a claint, then Lender may negotiate and settle the claim, ‘The 30-day
perlod will bagin when. the notice is piven. ly elther event, or if Lender acquires the Property wider
Section 22 or otherwise, Borrower hareby assigns lo Lender (i) Borrower's rights to. any: Insurnnce
ih an amount not to exceed the amounts unpaid under the Note or this Security Instrument, and
(b) any other of Borrower's rights (other than the right to any refund of unearned premiums paid by
Borrower) under all insurance pollcles covering the Property, {rsofar as such rights are applicable to the
coverage of the Property, Lender may use the Insurance proceeds either to repair or restore the Property or
to pay amounts unpald under the Note or thia Security Instrument, whether or not then due,

6. Occupancy, Borrower shall occupy, eatabliahy and we Ue Property as Borrower's principal
residence within 60 lays after the execution of this Security Instrument and shall continue to occupy the
Property us Borrower's principal residence for at least one year after the date of occupancy, unless Lender
otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating
circumstances exist which are beyond Borrower's. control,

7, Preservation, Maintenance and Protection of the Property; Inspections, Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit wasle on the
Property, Whellier or not Borrower is residing in the Properly, Borrower shal] maintain the Property in
order to prevent the Property from deterlorating or decreniing in value due to its condition, Unless tt Is
determined pursunnt to Section 5 that repair or restoration Is not economically feasible, Borrower shal]
promptly repair the Property if damaged to avoid further deterioration or damage. If Insurance or
condemnation proceeds are pald in connection with damage to, or tye taking of, the Property, Borrower
shall be responsible for repairing or restoriny tho Property only If Lender has released proceeds for such
purposes, Lender may disburse proceeds for the repalrs and restoradon In a single payment or in a series of
progreas payments as the work ts completed. [f the insurance or condemnation proceeds are not sufficlent
to repair or reslore the Properly, Borrower is not relleved of Borrower's obligation for the completion of
such repair or restoration,

Lender or ite agent may make reasonable entries upon andl inspectlons of the Property, If it has
reasonable cause, Lender may inspect the interior of the improvements; on the Property, Lender shall give
Borrower notice al the tine of ar et to'such an Interior Inspection specifying such reasonable cause,

4, Borrower's Loan Application. Borrower shall be In default (f, during the Loan application
process, Borrower or any person! Of entities acting at the directlon of Borrower or with Borrower's
knowledge or consent gave materially false, misleading, or inaccurate information or statements to Lender
(or failed to provide Lerdler with material. Information) in. connee\ion with the loan. Material
representations Include, but are not limited ta; representations concerning Borrower's occupaney of the
Properly as Borrower's princtpal residence,

9, Protection of Lender's Interest iy (he Property atid Rights Under this Security Instrument, if
(a) Borrower fails to perform the covenants and agreements contained In this Security Instrument, (b) there
is @ legal proceeding that might significantly affect Londer's interest In the Property art/or i under
{his Security Instrument (such As a proceeding Inv bankruptcy, probate, for condemnation oy for clture, for
enforcement of o Hen which ‘may attain priority over thin Security Instrument or (0 enforce laws or
regulations), or (c), Borrower has abandoned the Properly, then Lencler muy do and pay for whatever is
yeasonable or appropriate to protect Lender's interest In the Property and rights under this Security
Instrument, including protecting and/or assessing the value of the Property, and securing: and/or repairing
the Property, Lender's actlons can include, but are not limited to: (a) paying any. sums secured by a lien
which has priority over this fiecurlly Instrument; (b) appearing In court) and (¢) paying reasonable

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ED, (KS) (0202) Page 7 al 18 we Form 3017 101

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Case 15-20184 Doc# 29-1 Filed 05/22/15 Page10of11
aitorneys! fees to protect Its interest in the Property and/or righ under this Security Instrument, including
its secured postion ine bankruptcy pr Securing the Proparty Includes, bul ls not lintlted to,
entering the Property to make repairs, change locks, replace or board up doors and windows, train water
from rs, eliminate building of other code violations or cangerors conditions, and have utilitles wrned
on or off, Although Lender may tke actlon urvler this Section 9, Lender does nut have to do so and Is not
‘uider any duty or obligation to do so, It is agreed that Lender incurs no Hubility for not taking any or all
actions authorized under’ this Section 9,

‘Any amounts disbursed by Lender under this Section 9 shall become additional clebt of Borrower
‘secured by this Security Instrument, ‘These aounts shall bear interest at the Note rate from the date of
disbursement and shall be payable, with such Interest, upon notice from Lender to Borrower requealing

payment,
If this Security Insteument Is on a leasehold, Borrower stall comply with all the provisions of the
Jeuse, If Borrower acquires fee title to tho Property, the leasehold and fee title shall not merge unless
Lender agrees to the merger In writing,

10, Mortgage Insurance, If Lender required Mortgage Ingurance as a coniltion of making the Loan,
Borrower shall pay the premiums required to matntain the Mortgage Inaurance inveffect, 1, for any reason,
the Morlnae Insurance coverage required by Lender ceases to ‘available from the nvortyage insurer that

eviously provided such Insurance and Borrower wns required to make separately doaigtwtad payments

ward the promiuns for Mortgage Ingurance, Borrower shall pay the premiuns required o ablain
coverage substantially equivalent to the Mor Insurance previously In effect, at a cast anibatsrtialy
equivalent to the cost (0 Borrower of the Mortgage Insuraiice previously in effect, from an alterna
mortgage Insurer selected by Lender. If substantially equivalent Mortgage Insurance coverage Is not
available, Borrower shall continue to pay to Lender the amount of the separately SENS teat that
were duc when the Insurance coverage ceased (o be In. effect. Lender will accept, use and retain thene
payments 0g @ norer unable loss reserve In leu of Mortgage Insurance, Such loss reserve shall be-
non-refundable, notwithstanding the fret that the Loon Is tltimately patel Irv full, and Lender shall not be

uled to pay Borrower any {nterest or earnings on such loss reserve. Lender can no longer require loss
a if Mortgage Insurance caverage (in the amount and for the perlod that Lender requires)
provi ‘an Insurer selected by Lender again becomes available, {5 oblained, and Lender requires
separately designated eyes toward the premiums for Mortgage Insurance. [f Lender recyulred Mortgage
Treurance asa condition of making the Loan and Borrower was required to make separately dlosignuted

nents toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to

maintain Mortgage Insurance In effect, or to provide a non-refundable foss reserve, unl] Lender's
requirement for Morlgage Insurance ens in accordance with any weltien are between Borrower and
Lender powell for such fermiruition or tntll termination is required b pplicable Law, Nothing in this
Section 10 affects Borrower's obligation to pay interest at Uw rate provided in the Note.
Morlgaga Insurance relmburses Lender (or any entity that purchases the Note) for certaln losses It
my incur Hf Borfower does not repay the Loan ns agreed. Borrower is not party to the Marlgage
neurance,

Mortgage insurers evaluate their Jota risk ov all such insurance In force from time to time, and may
enter into agreements with other parties that share or modify thelr risk, or reduce losses, These agrecmnents
are on terms and conditions that are satisfactory to Uw mortgage Insurer and the other pe (or parties) to
these agreements, These ogreements may require the mortgage insurer to make payments using any source
of f that the mortgage insurer may have available (which may include fu obtained from Mortgage
Insurance premiums),

Asa result of these agreements, Lender, any porchaser of the Note, another insurer, nny rolmsurer,
any other entity, oF any affiliate of any of the foregoing, may receive (dintclly or Indirectly) etounts that
derive from (or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in
exchange for sharing or modifying the morigage insurer's risk, or reducing, losses, Tf such agreement
provides that.an affiliate of Lénder wkes a share of the insurer’ risk in exck for a share of the
premiums pald to the insurer, ve arrangement i often terined “captive reinsurance,” Further:

(a). Any such agreements will not affect the amounts that Borrower hag agreed to pay for
Mortgage Ineuranee, or any other terme of the Loan. Such agreementa will not In¢rease the amount
Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any refund.

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ED, (KS) 0202) page 8 of 18 Wh Form 3037 11

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Case 15-20184 Doc# 29-1 Filed 05/22/15 Page11of11
